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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Prinzo & Associates, LLC
                                        Plaintiff,
v.                                                         Case No.: 1:20−cv−03256
                                                           Honorable Gary Feinerman
BMO Harris Bank, N.A., et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, July 28, 2020:


         MINUTE entry before the Honorable Gary Feinerman:Given the 6/30/2020 order
[18], the initial status hearing set for 8/3/2020 [8] is stricken and re−set for 8/28/2020 at
9:00 a.m. Initial Status Report shall be filed by 8/21/2020. Please see Judge Feinerman's
web page (http://www.ilnd.uscourts.gov) for details on the initial status hearing and initial
Status Report. Attorneys/Parties should appear for the 8/28/2020 hearing by calling the
Toll−Free Number: (877) 336−1828, Access Code: 4082461. Members of the public and
media will be able to call in to listen to this hearing (use toll free number). Please, please
be sure to keep your phone on mute when you are not speaking. Persons granted remote
access to proceedings are reminded of the general prohibition against photographing,
recording, and rebroadcasting of court proceedings. Violation of these prohibitions may
result in sanctions, including removal of court issued media credentials, restricted entry to
future hearings, denial of entry to future hearings, or any other sanctions deemed
necessary by the Court. Mailed notice.(jlj, )




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